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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                           Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 07-cv-02235-MSK-KMT


  DONALD N. TARANTO,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

         Defendant.


                                      MINUTE ORDER


  KATHLEEN M. TAFOYA, United States Magistrate Judge
  Janet D. Zinser, Judicial Assistant


  “Mark E. Seader’s Unopposed Motion to Participate in May 5, 2008, Status Conference by
  Telephone” (#58, filed April 30, 2008) is GRANTED. Counsel may appear via telephone for the
  Status Conference and shall call (303) 335-2780 at 9:00 a.m.

  Dated: May 1, 2008
